        Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 1 of 43




                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

vs.                                         Case No.: 1:22-cr-050

ADAM AVERY HONEYCUTT
   Defendant,



                         SENTENCING MEMORANDUM

        The Defendant, ADAM AVERY HONEYCUTT, by and through

the undersigned attorney, files this sentencing memorandum to support his

request that the Court sentence him to the time he has already served.

        Adam Honeycutt, a father of three, made a decision to be a part of

history, not infamy. In believing that January the 6th would become a

“historical moment”, Mr. Honeycutt flew to Washington with innocuous

hopes of peacefully expressing his beliefs. He never planned to storm the

capitol that day or to harm anything or anyone. Others did however. And

that’s where Mr. Honeycutt’s saga began. That one moment changed his

life.

        Because Mr. Honeycutt did not plan, coordinate or act violently that
       Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 2 of 43




day, he was charged with the petty misdemeanor offense of Parading,

Demonstrating, or Picketing in a Capitol Building, in violation of 40 USC

Sec. 5104(e)(2)(G). Among the hundreds charged in connection with the

events of January 6, 2021, he is among the least culpable. There is no

evidence he intended to enter the Capitol before he arrived in Washington,

D.C. He did not engage the police, and, while inside, he did not steal or

damage any property. Mr. Honeycutt was not aware of any plan to enter the

Capitol unlawfully as he followed the crowd. Mr. Honeycutt was not among

those that initiated the raid by kicking in doors and busting windows. Nor

was he among those who vandalized the inside or chased police through the

Capitol corridors.

      Out of respect to our nation’s institutions, we won’t label him a

“spectator” to these horrible events that dealt the country a black eye. But it

is admittedly difficult to find a more appropriate analogy. Just as spectators

to a sporting event take pictures, watch in amazement and sometimes storm

the field afterwards, Mr. Honeycutt acted in a similar fashion. But while on

the proverbial “field”, he didn’t tear down any goal posts, punch anyone or

deface buildings. What he did was wrong and he’s ashamed. While there’s

no doubt as to his unlawful actions in parading though a closed Capitol
       Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 3 of 43




building, what he did does not warrant the maximum sentence as the

Probation officer recommends. In justifying their harsh recommendation,

one that far exceeds the typical sentence for the hundreds of other similarly

charged individuals, the probation officer cites the social media posts that

somehow were meant to “glamorize” his presence there as if this was some

novel act not seen in other cases. To the contrary. The vast majority of these

cases involve the discovery of social media posts, or cell phone videos that

led to hundreds of arrests.

      Because of his poor judgment in entering the Capitol, Mr. Honeycutt

has paid twice. Not only was he charged with this offense, but he was also

charged with gun and drug charges stemming from his arrest for the capitol

case. After Mr. Honeycutt’s efforts to voluntarily surrender himself for the

Capitol offense were thwarted by the FBI’s decision to instead show up at

his house un-announced on February 11, 2021, he was found in his house

with a small amount of marijuana in the vicinity of firearms. Luck isn’t

something Mr. Honeycutt is used to. While some might argue his lack of

luck is self-induced, there’s no denying that the fact that had Trump’s

speech not gone the way it did and had the mob not hatched that haphazard

plan to storm the capitol, Mr. Honeycutt would be at home now in Orange
         Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 4 of 43




Park, Florida with his family and working to support them. Instead, he has

been incarcerated since February 11, 2021 and suffered a felony conviction.

No, he is not an innocent bystander in all of this. But these points, we

believe, offer a very important perspective of how we got here. The

probation department spent quite a bit of time discussing his prior

misdemeanor convictions in support of its recommendation. One such prior

was a citation for Driving While License Suspended from twenty years ago.

Another entry they cite was from 2011 involving another low-level

misdemeanor offense, Disorderly conduct. Yet these old minor offenses are

what the probation officer relied on in claiming that such a sentence would

curtail his “continued delinquent behavior”.

         During the search of his home in February, Mr. Honeycutt did not

want his fiancée to get into any kind of trouble. He immediately confessed

to the drugs. During this entire time, he has always been ready to accept

responsibility for the charges.

         There is much to know about Adam Honeycutt, the man. 1 He is a

family man and entrepreneur in his community and loved by many people


1
 There are numerous letters of support received from family, friends, neighbors, and others indicating
their shock at learning of Mr. Honeycutt’s arrest and attesting to his good character and helpfulness.
          Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 5 of 43




 given his heart for serving others. Ultimately his patriotic zeal and desire to

 support the former president led to some poor decision making while he was

 at the capitol in January of this year, which led to a search of his family’s

 home. Mr. Honeycutt realized, after the fact, what a detriment his 3-day trip

 to the capitol has been to his family – including his fiancé, three minor

 children, and elderly father.

         If he could take it all back, he would, but since he cannot, he is

 focused on becoming a better man because of it all. After all, that is the true

 story of Adam Honeycutt – a young man who became successful in life and

 business because of his integrity and reputation in his community.

                                   MR. ADAM HONEYCUTT

         Mr. Honeycutt did not have an easy start in life, which makes his

 success in life and business all the rarer as compared to so many other cases

 where poverty and trauma are underlying factors in repetitive criminal

 behavior. 2Contrastingly, Mr. Honeycutt has only miniscule interaction with

 law enforcement in his life. When he was two years old, his late mother

 (Lisa Jackson) had placed him and his brother in the foster system shortly



2 Although the attached photos and letters were used in the recent case involving his arrest on gun

charges referenced herein, they apply naturally here as well and are useful in depicting who he really is.
       Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 6 of 43




after separating from their father and winning temporary custody of the

boys. Though it is uncertain what his mother’s reasons were for the foster

care placement, some suspect she had issues with drug addiction. In any

case, several months later, Jerry Honeycutt was contacted by social services

asking him to step in to avoid his sons’ permanent placement with an adoptive

family. Single parenthood was tough for him. At the time he took his sons

back, he was working for a beer company and renting a room in his

coworker’s trailer in South Carolina. Affording daycare for the boys made

for an even tighter family budget, but he managed somehow. Jerry decided

to move back to North Carolina with the boys and rent a home from his

sister and divorced the boys’ mother. He described his son as a very

outgoing child who needed a lot more attention than he was able to give

him.

       Mr. Honeycutt grew up in the poorest neighborhood in Charlotte, NC.

He was picked on a lot by other children and had to learn to fight to defend

himself from the neighborhood kids. He stated it was just a matter of “being

the poor white kid at a majority black school.” His father ran a janitorial

business and drove truck to support him and his disabled older brother

growing up, and his paternal Aunt Patricia kept an eye on them in his
       Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 7 of 43




absence. They went to church regularly early on, and his father instilled the

principles of hard work and honesty in him through his daily example.

      At about age 10, Mr. Honeycutt and his brother came to the Punta

Gorda area to be with their mother for a while. Jerry Honeycutt recalls his

son saying to him one day, “I miss my Mommy,” and responding with “she

loves you,” while agreeing to allow Mr. Honeycutt and his brother to visit

her for the first time in many years. Jerry Honeycutt did so knowing that his

sons would come to understand who their mother was on their own without

offering his opinion of her. Several weeks later, Mr. Honeycutt’s brother

was sent back to his father, while his mother decided she wanted to keep

Mr. Honeycutt with her. It was a matter Jerry Honeycutt had to resolve

through the courts to get his son back, and a situation where the court

recognized that it was in the child Mr. Honeycutt’s best interest to remain in

the custody of his father. The whole ordeal was very disruptive in a way to

everyone involved. Jerry Honeycutt figured that his son got an idea of what

life with his mother was like in that experience.

      Back in Charlotte, North Carolina, Mr. Honeycutt grew up fast. By

age 13 he ran away from home for his first prolonged period and dropped

out of school altogether not long after. In 1999, Mr. Honeycutt was 18 years
       Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 8 of 43




old. He made the choice to start a new life over in Florida once again after

witnessing a gang-related shootout at a trailer where he happened to be at

the time of occurrence. There was talk that some of the gang members

wanted to get rid of him as a witness, so he got out of town. After settling

in Punta Gorda, Mr. Honeycutt reacquainted with his mother and got quick

to work in construction and other odd jobs. He was content with whatever

he could find and rented a room in a trailer at first. He was well liked by the

people with whom he came in contact. In fact, his personality and

appearance earned him the nickname, “Bundy,” for his resemblance of Bud

Bundy from the 90s series, Married with Children. People contacted him to

host weekend dance parties, where he charged an admission in exchange for

providing music, lights, water, and event security. This was the start of his

entrepreneurism. Not long after, Mr. Honeycutt met Beverly Blanding, who

showed him the ropes of the bail bonding business. Mr. Honeycutt was a

natural in the business. He knew how to talk to people and was a good

negotiator.

      In August 2008, Mr. Honeycutt started his own bail bond company.

“I learned along the way,” he said. As he did not yet know all the

technicalities of running a business, particularly with bookkeeping and
      Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 9 of 43




accounting. By the end of his first year in business, he owed $50,000 in

insurance fees for his lack of understanding. But, undeterred by the

challenge, Mr. Honeycutt set up a payment plan and got his business back

on track after learning a tough lesson. He took his licensure seriously and

learned from his mistakes. He is always wanting to become better at

business. About a year later, he met the mother of his children, Samantha

Corwin, through a mutual friend, and they began dating occasionally. For

years they did not see one another much given that Ms. Corwin was going

to school full-time and working night shift as a bar tender, while Mr.

Honeycutt worked his business 7 days a week.

      Though they were both individually determined to succeed in their

own lives, Mr. Honeycutt and Ms. Corwin were also attracted to this

attribute in one another. Mr. Honeycutt has a good sense of humor and

would take Ms. Corwin on beach dates when he could. In 2013, they

welcomed their oldest daughter, with their second daughter arriving shortly

thereafter in 2014. Around this time, Mr. Honeycutt’s father, Jerry, came

down to see if he liked the Florida life. He helped Mr. Honeycutt run a

pawnshop that he had opened next door to his bail bonds company. It

worked out well. Ms. Corwin said that Mr. Honeycutt was always trying to
      Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 10 of 43




diversify his business options, and he also ran a landscaping company for a

few years. Mr. Honeycutt, although he lived in the same town as his mother,

they never became close.

      As the girls neared school age, Ms. Corwin purchased a home in

Orange Park to take advantage of the great public schools in the Oakleaf

area. While it served the purpose of getting the girls in a good school, it was

also a big sacrifice for the family as Mr. Honeycutt was constantly on the

road to run his business back and forth between Jacksonville and Punta

Gorda during the week. In the meantime, Ms. Corwin opened her own

bail bond company in Jacksonville, and gave birth to a son in 2019. The

couple hope to open a retail business in the Jacksonville area in the near

future and add employees to allow them more time to raise their children.

Mr. Honeycutt longs to raise his children in a farm or rural setting and teach

them practical lessons. He wants to learn to weld and use that skill to

supplement the family businesses.

                  SERIOUSNESS OF THE OFFENSE,
                   PROMOTE RESPECT FOR THE
                     LAW, AND PROVIDE JUST
                          PUNISHMENT

      Federal sentencing law generally asks a court to consider

retribution, deterrence, incapacitation, and rehabilitation. Retribution
      Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 11 of 43




imposes punishment based on moral culpability, whereas deterrence,

incapacitation, and rehabilitation are directed towards society's future

security.

      The events of January 6, 2021 encompass a wide range of conduct.

The Department of Justice has alleged that some individuals traveled to

Washington, D.C. with the intent of entering the Capitol Building,

individuals can be seen assaulting officers on bodycam and closed-circuit

camera footage. Some individuals are alleged to have made statements

about searching for or threatening the Vice President and members of

Congress. Mr. Honeycutt did not do any of these things. He was literally in

the wrong place at the wrong time. He followed the crowd into the Capitol

Building and then left without hurting anyone or destroying anything.

      A sentence of incarceration is not necessary to protect the public or

promote deterrence. The Department of Justice has conducted research that

has established that “[t]he certainty of being caught is a vastly more

powerful deterrent than the punishment.” (National Institute of Justice, Five

Things About Deterrence). The fact that the Department of Justice has

engaged in a nationwide investigation to track down and prosecute everyone

who entered the Capitol Building on January 6, 2021 is the most powerful
      Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 12 of 43




deterrent to similar future conduct by Mr. Honeycutt or others who are

following the events of January 6. As the National Institute of Justice

research demonstrates, Mr. Honeycutt’s prosecution, not his sentence, will

deter others from engaging in similar behavior.

      In other cases of this nature, the Government has sought a split

sentence of incarceration and probation. Such a sentence is not authorized

by 18 U.S.C. § 3551(b), which provides for the imposition of a sentence of

incarceration or probation, but not both. This issue was addressed by Judge

Colleen Kollar-Kotelly in United States v. Spencer, Criminal No. 21-0147-

02, Memorandum Opinion and Order, ECF No. 70. Relying on the plain

language in of § 3551, the Judge Kollar-Kotelly found that a split sentence

was not authorized.

      A review of a database of January 6 defendants shows that to date the

Department of Justice has initiated prosecution against 726 people. Of these

89 have been sentenced and 24 have been sentenced to probation without

home confinement or other custody.        Given Mr. Honeycutt’s relative

culpability among these defendants, a time served sentence is appropriate
         Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 13 of 43




and would not create an unwarranted disparity.3

                                         CONCLUSION

         In reflection of the meaning of his arrest and current detention, Mr.

 Honeycutt stated that the reason for it all was to “slow me down” enough so

 that he could truly understand what is important to him in his life, and to

 finally “read the bible.” Jerry Honeycutt is proud of the man his son has

 become despite the setback of his poor decision making. Mr. Honeycutt has

 always been a “go-getter” according to his father. The fact that he grew up

 “so poor that the people on welfare laughed at him” made his drive to

 succeed all the greater. One of the main principles Mr. Honeycutt learned

 from his early years in church was to serve others, his father said, “it always

 stuck with him.” And as the outpouring of support in the letters from family

 suggests, Mr. Honeycutt is absolutely a man who serves his community in

 any way he can.

         In hindsight, Mr. Honeycutt is regretful of his decision to attend the

 January 6 rally at the capitol earlier in the year. Of course, had he put his guns

 in storage as he had planned, perhaps this whole mess wouldn’t have


3 The Probation Department may have more up to date or accurate numbers relative to the number of

defendants sentenced and the sentences received. However, even if the database referenced in this
memorandum is missing a few individual sentences, the fact remains that over one fourth of defendants
have received probationary sentences without a home confinement requirement.
      Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 14 of 43




happened. He never wanted for the ATF agents to storm his house and disrupt

his family’s life. Samantha Corwin remains traumatized by the event, where

agents with machine guns entered the home and cordoned her and the children

off in a corner of the home as they searched. She realized the effect it was

having on her children when her oldest child asked her if her father was

“dead.” She never expected her husband’s patriotism would lead to the

raiding of their family home. It was a total shock to her, yet she remains

committed to him and supports him in getting through this. Mr. Honeycutt

is determined to put this experience behind him and become a stronger man

for his family. He prays that the court will consider the totality of his life

when fashioning a sentence of the least restrictive nature possible to satisfy

the purposes of sentencing. Defense suggests that a sentence of time

served. Mr. Honeycutt has been in custody continuously since February 24,

2021 and has had the additional hardship of prolonged transports from

McClenny to Washington, DC in during the pandemic. While in transit, Mr.

Honeycutt was assaulted by another inmate while using the phone at the

Grady County Jail in Oklahoma. The inmate struck him on the back of the

head causing Mr. Honeycutt to hit his head on the ground and suffer

dizziness and a black eye. While he suspected he may have had a
       Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 15 of 43




 concussion, this has never been confirmed medically. Also, while detained at

 the Baker County Jail, Mr. Honeycutt tested positive for Covid-19 and was

 placed on restrictive quarantine for 14 days while he recovered. Arguably,

 the time that Mr. Honeycutt has served since his arrest has been some of the

 longest, hardest days of his life.

       Dated:       April 29, 2022

                                             /s/ L. Lee Lockett ____________
                                             L. LEE LOCKETT, ESQUIRE
                                             Florida Bar No.: 0128120
                                             1548 The Greens Way, Suite 2
                                             Jacksonville Beach, Florida 32250
                                             904-858-9818
                                             Attorney for Defendant
                                             Email: lee@lockettlaw.net

                           CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on the 29th day of April 2022, I electronically filed the
foregoing with the Clerk of the Court which will send a notice of electronic filing
to the following: Kondi Kleinman, Assistant U. S. Attorney.

                                              s/ Lee Lockett
                                              Lee Lockett
Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 16 of 43
Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 17 of 43
Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 18 of 43
Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 19 of 43
Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 20 of 43
Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 21 of 43
Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 22 of 43
Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 23 of 43
Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 24 of 43
Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 25 of 43
Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 26 of 43
Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 27 of 43
Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 28 of 43
Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 29 of 43
Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 30 of 43
Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 31 of 43
Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 32 of 43
Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 33 of 43
Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 34 of 43
Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 35 of 43
Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 36 of 43
Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 37 of 43
                          Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 38 of 43




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Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 40 of 43
Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 41 of 43
Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 42 of 43
Case 1:22-cr-00050-CJN Document 40 Filed 05/02/22 Page 43 of 43
